
PER CURIAM.
Appellant, a 17-year-old child, was charged, in a petition for delinquency, with assault with intent to commit murder. He was tried in the juvenile court, adjudicated delinquent and sentenced to probation with the condition that he complete the Boys Town program.
This case stems from an incident which occurred when the victim who had been drinking beer with friends, placed two beer cans on the top of the appellant’s mother’s car as a joke in order to annoy her. The appellant arrived home, saw the cans, and an altercation ensued, resulting in fist-fighting and kicking. The fighting stopped and the appellant went into his house. When he came out a few minutes later, the fight resumed and the appellant stabbed the victim with a knife he obtained in the house, inflicting a serious wound.
In this appeal, the appellant contends that the trial court erred in denying his motion for new trial where the evidence as a matter of law established self defense. We do not agree.
*644The question of self defense is ordinarily one of fact to be determined by the trier of fact. Scholl v. State, 1927, 94 Fla. 1138, 115 So. 43; Turner v. State, Fla.App.1974, 298 So.2d 559. The findings of the trier of fact are presumed correct, and the appellate court will not sit as a second trier of fact. Hoover v. State, Fla.App.1968, 212 So.2d 95. In examining a record to determine if there is sufficient evidence to support the conclusion of the trier of fact, an appellate court need only find substantial, competent evidence to support the conclusion. Crum v. State, Fla.App.1965, 172 So.2d 24, 25. The adjudication of delinquency having arrived in this court with a presumption of correctness, all inferences to be drawn from the evidence are to be in favor of the adjudication of delinquency. Crum v. State, supra. Our review of the record demonstrates that there was competent substantial evidence to support the adjudication of delinquency.
Affirmed.
